      Case: 23-50627    Document: 68        Page: 1   Date Filed: 09/20/2023




                                 No. 23-50627

          In the United States Court of Appeals
                  for the Fifth Circuit
Free Speech Coalition, Incorporated; MG Premium, Limited;
MG Freesites, Limited; WebGroup Czech Republic. a.s.; NKL
 Associates, s.r.o.; Sonesta Technologies, s.r.o.; Sonesta
Media, s.r.o.; Yellow Production, s.r.o.; Paper Street Media,
 L.L.C.; Neptune Media, L.L.C.; Jane Doe; MediaME, S.R.L.;
                Midus Holdings, Incorporated,
                              Plaintiffs-Appellees,
                                       v.
   Angela Colmenero, Attorney General, State of Texas,
                            Defendant-Appellant.

               On Appeal from the United States District Court
              for the Western District of Texas, Austin Division

  REPLY IN SUPPORT OF DEFENDANT’S MOTION TO
 STAY PRELIMINARY INJUNCTION PENDING APPEAL


 Ken Paxton                                 Lanora C. Pettit
 Attorney General of Texas                  Principal Deputy Solicitor General
                                            Lanora.Pettit@oag.texas.gov
 Brent Webster
 First Assistant Attorney General           Kyle D. Highful
                                            Assistant Solicitor General
 Ofﬁce of the Attorney General
 P.O. Box 12548 (MC 059)                    Coy Allen Westbrook
 Austin, Texas 78711-2548                   John Ramsey
 Tel.: (512) 936-1700                       Assistant Attorneys General
 Fax: (512) 474-2697                        Counsel for Defendant-Appellant
          Case: 23-50627    Document: 68     Page: 2   Date Filed: 09/20/2023




                               Introduction
    The use of pornography by minors is a public-health crisis that is attracting the
attention of experts, legislators, and parents around the country. Evidence is mount-
ing of the many deleterious effects of online content that sexualizes violence and glo-
riﬁes the subjection and abuse of women. E.g., ROA.508-11. In the face of this per-
vasive problem, the Texas Legislature enacted common-sense measures to protect
children from the vast and obscene world of internet pornography.

    Plaintiffs do not argue that pornography is appropriate for minors, explain how
substantial portions of their content is not obscene under controlling Supreme Court
precedent, or engage with what the record shows about their sites’ content, its effect
on children, or how current age-veriﬁcation technologies actually work. Instead, they
rely chiefly on Supreme Court precedent involving dissimilar federal laws. But Plain-
tiffs cannot hide the fact that H.B. 1181 does not prohibit anyone from producing,
transmitting, selling, viewing, or purchasing pornography. Instead, it merely seeks
to ensure that those who do so are adults. This Court should extend its administra-
tive stay of the district court’s preliminary injunction through the pendency of this
appeal.

                                  Argument

I. The Attorney General Is Likely to Succeed on Appeal.
    Plaintiffs are not likely to show that H.B. 1181 violates the First Amendment be-
cause Plaintiffs have no constitutional right to peddle obscenity to minors. Plaintiffs
have not established that the ratio of their non-obscene to obscene content is high
        Case: 23-50627      Document: 68       Page: 3   Date Filed: 09/20/2023




enough to justify the extraordinary remedy of a preliminary injunction against the
law’s age-veriﬁcation requirement. And the notice requirement passes constitutional
muster as an exercise of the State’s police power to regulate commercial speech to
further the health and morals of its citizens. Nor have Plaintiffs shown that a threat
of irreparable injury, the equitable balance, or the public interest favored an injunc-

tion. Accordingly, the Attorney General’s appeal of the district court’s injunction is
likely to succeed.
    Plaintiffs make ﬁve counterarguments, all of which fail.
    First, Plaintiffs assert (at 8-9) that the Attorney General has failed to preserve
the argument that Plaintiffs are without First Amendment protection because of the
obscenity on their websites. Yet below the Attorney General argued that Plaintiffs’
sites “appeal wholly to the prurient interest and have no artistic or literary value,
serious or otherwise,” ROA.484-85 (citing Miller v. California, 413 U.S. 15, 24
(1973)), and are “undeserving of First Amendment protection,” ROA.485. Indeed,

it is this very argument that Plaintiffs half-heartedly attempted to rebut in their reply
in support of their preliminary-injunction motion by asserting that “a substantial”—
albeit entirely unquantiﬁed—“portion plainly is not [obscene].” ROA.623. Plain-

tiffs’ preservation argument is belied by their four rebuttal declarations that, at best,
suggest that their websites contain some non-obscene materials. ROA.674-75 (assert-
ing that one website hosts solely “soft core” content); ROA.679 (noting some non-

obscene adult content, without stating a percentage); ROA.681 (same); ROA.690
(same). Although Plaintiffs may now argue that the Attorney General’s obscenity
argument is “newly minted and thinly conceived,” Resp. 9, this point fails on the

                                           2
        Case: 23-50627       Document: 68       Page: 4   Date Filed: 09/20/2023




face of the record because the Attorney General raised the argument below and
Plaintiffs responded.
    Second, Plaintiffs deny conceding that any of their content is obscene, id., but
they never actually deny the State’s characterization of what minors can ﬁnd on their
sites or of internet pornography in general, see, e.g., Mot. 3. It is no wonder that Plain-

tiffs would rather the Court ignore their content, which can currently be freely ac-
cessed by Texas children. If a video depicting a young woman being tied up, gagged,
slapped, and penetrated by multiple men does not “portray sexual conduct in a pa-
tently offensive way,” Miller, 413 U.S. at 24, it is difﬁcult to imagine what would, see
ROA.538-39 (providing a more detailed description of Plaintiff Xnxx’s 304,523
“teen bondage gangbang” videos).
    And the Attorney General is not cherry picking. The record reflects that “to-
day’s mainstream pornography is violent, body-punishing, and cruel,” and often in-
cludes “[s]panking, gagging, slapping, hair pulling, and choking,” usually against

women. ROA.506. Plaintiff “Pornhub[’s] videos also show scenes of rape,” alt-
hough the video tags are sometimes deliberately misspelled “to avoid legal action.”
ROA.507 (noting tags like “Un Consesual” and “Non Consesual Porn Porn vid-

eos,” each of which applies to about 200,000 videos). “[S]exual practices involving
coercion, deception, non-consent and criminal activity are described in mainstream
online pornography in ways that position them as permissible.” ROA.509. In addi-

tion to violence, minors can—and do—access depictions of “[s]exual activity be-
tween people and animals” and “[s]exual activity involving urine or feces.” Chiara
Sabina, Janis Wolak, & David Finkelhor, The Nature and Dynamics of Internet

                                            3
         Case: 23-50627     Document: 68       Page: 5   Date Filed: 09/20/2023




Pornography Exposure for Youth, 11 CyberPsychology & Behavior 691, 692 (2008).
Thus, this case is not about Marlon Brando movies. Contra ROA.1878-79. It is about
“family porn,” “young petite porn,” “anal bondage,” and other, more graphic de-
scriptors that will not be mentioned here but are in the record. See ROA.538.
    Plaintiffs insist that any obscenity they offer is mingled with non-obscene mate-

rial, shielding them from regulation. See Resp. 9-10. But Plaintiffs do not claim to
have segregated the obscene and non-obscene materials in such a way that Texas can
more narrowly tailor its law to require age veriﬁcation solely for obscene content.
    Third, Plaintiffs misleadingly assert that the Attorney General does not “seri-
ously disput[e] that the law is invalid under binding Supreme Court precedent,” id.
at 1, relying heavily on Reno v. ACLU, 521 U.S. 844 (1997), and Ashcroft v. ACLU,
542 U.S. 656 (2004), e.g., Resp. 1, 11. But, as the Attorney General has pointed out,
Mot. 8-9, the Supreme Court decided Brown v. Entertainment Merchants Association,
564 U.S. 786 (2011), after the ACLU cases. And Brown both reiterated “the obscen-

ity exception to the First Amendment,” 564 U.S. at 792, and noted that rational-
basis review applies to regulations of material that a State deems “obscene from the
perspective of a child,” id. at 793-94. Plaintiffs cite Brown only once (at 13) and never

discuss it.
    Moreover, the Attorney General explained at length why the ACLU cases are
inapposite, see Mot. 9-10, because they involved federal laws prohibiting certain

speech, Ashcroft, 542 U.S. at 669-70; Reno, 521 U.S. at 858-60. H.B. 1181 does not
prohibit any speech, including the transmission of pornography to minors. In addi-
tion, age veriﬁcation plays an entirely different role in H.B. 1181 than it played in the

                                           4
        Case: 23-50627      Document: 68       Page: 6    Date Filed: 09/20/2023




ACLU cases. There, age veriﬁcation was an afﬁrmative defense to criminal prosecu-
tion. Ashcroft, 542 U.S. at 670; Reno, 521 U.S. at 860-61. Here, age veriﬁcation is the
law’s requirement, not an afﬁrmative defense, and no criminal prosecution is author-
ized. Tex. Civ. Prac. & Rem. Code §§ 129B.002(a), 129B.006. In addition, H.B. 1181
is a state law, raising “particularly troublesome” federalism concerns that Plaintiffs

ignore. See NetChoice, L.L.C. v. Paxton, 49 F.4th 439, 449 (5th Cir. 2022).
    Fourth, Plaintiffs argue that H.B. 1181’s age-veriﬁcation requirement will chill
expression by adults. Resp. 12. They cite the district court’s order and the Third
Circuit’s opinion in ACLU v. Ashcroft, 322 F.3d 240 (3d Cir. 2003), aff’d and re-
manded, 542 U.S. 656 (2004). Resp. 12. But a more nuanced understanding of the
age-veriﬁcation process shows that the district court’s concerns about chilling were
overblown, and the Supreme Court did not adopt the part of the Third Circuit’s rea-
soning on which Plaintiffs and the district court rely.
    The district court apparently believed that H.B. 1181 requires visitors to porno-

graphic websites to begin age veriﬁcation anew with every visit. See ROA.1733. But
H.B. 1181 provides merely that a reasonable age-veriﬁcation method must require a
visitor to “provide digital identiﬁcation” or “comply with a commercial age

veriﬁcation system.” Tex. Civ. Prac. & Rem. Code § 129B.003(b). Tony Allen, an
expert on the “age assurance industry,” ROA.402, explained in his declaration that
contemporary age-veriﬁcation systems are designed to be consistent with online pri-

vacy: “H.B. 1811 requires,” Allen explained, and “the industry’s general practice is,
not to retain any personal information after an age check is completed.” ROA.406.
Age-veriﬁcation providers “do not create new databases of personal data, nor track

                                           5
        Case: 23-50627     Document: 68       Page: 7   Date Filed: 09/20/2023




the behavior of individuals online.” ROA.406. That is, “there is no accessible ledger
of adults who view adult content created by the Age Veriﬁcation industry, as the
plaintiffs fear, because personally identiﬁable data is not retained.” ROA.423 (quo-
tation marks omitted). Age-veriﬁcation providers “apply the same degree of security
you would expect in ﬁnancial transactions,” and auditors “test[] providers against

international standards.” ROA.406.
    Critically, “[t]he veriﬁcation process need only be performed once per user.”
ROA.407. “[T]he veriﬁcation results for any individual user may be shared among
Content Providers and other websites, thereby minimizing the need for multiple age
veriﬁcation checks of the same individual.” ROA.407-08. In sum, “the technology
exists now to ensure that H.B. 1181 does not threaten the principle of navigating
seamlessly between many websites operated by unrelated entities.” ROA.418. A sys-
tem that allows a user to carry his age veriﬁcation from site to site would meet H.B.
1181’s requirement that sites “comply with a commercial age veriﬁcation system.”

Tex. Civ. Prac. & Rem. Code § 129B.003(b).
    Moreover, online age veriﬁcation is “widely used by thousands of sellers and
their consumers on a daily basis around the world, in a variety of contexts, such as

alcohol and tobacco sales, gambling, gaming and, to a growing extent around the
world, accessing pornography.” ROA.403. And “age veriﬁcation is already actively
deployed by many adult content service providers.” ROA.403. “These companies

have applied age veriﬁcation to one extent or another to their services elsewhere in
the US, but also in the UK, France, Germany, Italy and in some cases, globally.”
ROA.404. “Many of the Plaintiff’s members are already embracing age veriﬁcation

                                          6
        Case: 23-50627      Document: 68       Page: 8   Date Filed: 09/20/2023




technologies,” ROA.430, and some Plaintiffs “already have age veriﬁcation technol-
ogy built into their systems,” ROA.1854.
    Indeed, Louisiana recently enacted a law not dissimilar from H.B. 1181 that re-
quires certain websites that offer “material harmful to minors” to “perform reason-
able age veriﬁcation methods to verify the age of individuals attempting to access the

material.” La. Stat. § 9:2800.29(B)(1). And public sources indicate that plaintiff
Pornhub, at least, is already complying with that law. According to one report, “[t]o
comply with a new age-veriﬁcation law in Louisiana restricting minors’ access to
adult internet content, visitors of the pornography website Pornhub can use their
mobile ID online to prove their eligibility.” Andrea Vittorio, Digital ID Cards Spread
Across US States with Range of New Uses, Bloomberg Law (Sept. 13, 2023), https://ti-
nyurl.com/bloombergidcards. And Fox News reports that “[s]ome adult websites,
including Pornhub, began using LA Wallet — which can maintain a copy of a Loui-
siana resident’s digital driver’s license” and “tell[] a third-party veriﬁcation com-

pany whether or not the user is at least 18 years old . . . .” Louisiana lawmakers pass
bill to strengthen age veriﬁcation on pornography websites, Fox News (June 5, 2023),
https://tinyurl.com/foxlouisianalaw.

    Similarly misplaced is Plaintiffs’ (and the district court’s) reliance on the Third
Circuit’s conclusion that an age-veriﬁcation requirement “will likely deter many
adults from accessing restricted content, because many Web users are simply unwill-

ing to provide identiﬁcation information in order to gain access to content.” Ashcroft,
322 F.3d at 259. The Third Circuit reached that conclusion in 2003, and the age-
veriﬁcation industry has developed signiﬁcantly since then. See ROA.427-29. The

                                           7
        Case: 23-50627      Document: 68       Page: 9   Date Filed: 09/20/2023




Third Circuit did not engage with the speciﬁcs of contemporary age-veriﬁcation
technology. And although the Supreme Court afﬁrmed the Third Circuit’s judg-
ment, it did not mention the theory that age veriﬁcation would chill adult users of
pornography. See generally Ashcroft, 542 U.S. 656.
    And ﬁfth, in attacking H.B. 1181’s notice requirement, Plaintiffs rely (at 15-16)

on National Institute of Family and Life Advocates v. Becerra, which held that a law
requiring crisis-pregnancy centers to post notices regarding the availability of abor-
tion likely violated the First Amendment. 138 S. Ct. 2361, 2368, 2378 (2018). The
Court distinguished Zauderer on two grounds. See id. at 2372 (citing Zauderer v. Off.
of Disciplinary Counsel, 471 U.S. 626 (1985)). First, the required notice “in no way
relates to the services that licensed clinics provide.” Id. Second, the notice “requires
these clinics to disclose information about state-sponsored services—including abor-
tion, anything but an ‘uncontroversial’ topic.” Id.
    Contrary to Plaintiffs’ argument, the Supreme Court’s analysis in Becerra shows

why this case falls comfortably within the Zauderer framework. H.B. 1181’s notices
relate directly to the services that Plaintiffs provide: Plaintiffs sell pornography, and
the notices warn of potential risks of using pornography. See Tex. Civ. Prac. & Rem.

Code § 129B.004. In addition, Plaintiffs have not shown that any controversy over
the risks and beneﬁts of pornography use, even by adults, approaches the status of
abortion as a major topic of public debate. And Plaintiffs have not even argued, much

less established, that there is any serious debate about whether minors should use
pornography.



                                           8
        Case: 23-50627      Document: 68        Page: 10   Date Filed: 09/20/2023




    In sum, nothing in the response disproves that the Attorney General is likely to
prevail in this appeal, favoring a full stay of the injunction.

II. The Remaining Factors Favor a Stay.
    The other Nken factors similarly favor extending the administrative stay. Nken

v. Holder, 556 U.S. 418, 435 (2009). “When a statute is enjoined, the State neces-
sarily suffers the irreparable harm of denying the public interest in the enforcement
of its laws.” Veasey v. Abbott, 870 F.3d 387, 391 (5th Cir. 2017) (per curiam). The

balance of the equities and the public interest “merge when the Government is the
opposing party.” Nken, 556 U.S. at 435. The preliminary injunction injures Texas’s
sovereign interests and deprives Texas children of the law’s protections.
    “Plaintiffs concede[d] for the purposes” of the preliminary-injunction motion
that “Defendant’s stated interest here is compelling.” ROA.1714. And the district
court noted: “It is uncontested that pornography is generally inappropriate for chil-

dren, and the state may regulate a minor’s access to pornography.” ROA.1714. For
good reason: research has linked pornography use by minors with:
        • depression;
        • sexual impulsivity;
        • lower degrees of social integration;
        • emulation of sexual strangulation and other violence;

        • child sexual abuse and child pornography;
        • paraphilias (e.g., exhibitionism, voyeurism);
        • illegal drug use;

        • sexting;

                                            9
       Case: 23-50627      Document: 68     Page: 11    Date Filed: 09/20/2023




       • non-consensual sharing of intimate photos (i.e., “revenge porn”);
       • compulsive internet use;
       • dysfunctional stress responses and poor executive function;
       • psychosomatic symptoms (e.g., headache, irritability, trouble sleeping);
       • sexism and misogyny;

       • impaired self-esteem; and
       • the need to view more extreme and violent pornography to reach the same
           sexual satisfaction.
ROA.508-11.
    In their response, Plaintiffs nonetheless argue (at 20) that H.B. 1181 does not
“truly protect minors, given that . . . identical content [can] flow freely to minors
through other channels, including search engines and social media sites.” But courts
recognize that line-drawing is inherently difﬁcult and imprecise. See FCC v. Beach
Commc’ns, Inc., 508 U.S. 307, 315-16 (1993). The State’s inability to completely stop

children from accessing pornography does not mean that it is completely unable to
protect children by requiring the industry’s major participants to verify ages and post
warnings. For example, a minor who accesses Pornhub could spend his entire life-

time perusing its pornography and never run out. See ROA.539; Byrin Romney,
Screens, Teens, and Porn Scenes: Legislative Approaches to Protecting Youth from Expo-
sure to Pornography, 45 Vt. L. Rev. 43, 50 (2020). That same minor is likely to be

exposed to less pornography—and, by extension, less of the harm that it causes—if
he must locate it image-by-image or ﬁlm-by-ﬁlm.



                                          10
       Case: 23-50627     Document: 68    Page: 12    Date Filed: 09/20/2023




    The record, scientiﬁc studies, and common sense all point in the same direction:
pornography harms children. This Court should stay the district court’s injunction
and allow H.B. 1181 to help prevent irreparable harm to the State’s young people.

                                Conclusion
    The Court should extend its administrative stay of the district court’s prelimi-
nary injunction through the pendency of the appeal.

                                      Respectfully submitted.

Ken Paxton                            /s/ Lanora C. Pettit
Attorney General of Texas             Lanora C. Pettit
                                      Principal Deputy Solicitor General
Brent Webster                         Lanora.Pettit@oag.texas.gov
First Assistant Attorney General
                                      Kyle D. Highful
Ofﬁce of the Attorney General         Assistant Solicitor General
P.O. Box 12548 (MC 059)
Austin, Texas 78711-2548              Coy Allen Westbrook
Tel.: (512) 936-1700                  John Ramsey
Fax: (512) 474-2697                   Assistant Attorneys General

                                      Counsel for Defendant-Appellant




                                         11
        Case: 23-50627     Document: 68    Page: 13    Date Filed: 09/20/2023




                       Certificate of Service
    On September 20, 2023, this document was served via CM/ECF on all regis-
tered counsel and transmitted to the Clerk of the Court. Counsel further certiﬁes
that: (1) any required privacy redactions have been made in compliance with Fifth
Circuit Rule 25.2.13; (2) the electronic submission is an exact copy of the paper doc-
ument in compliance with Fifth Circuit Rule 25.2.1; and (3) the document has been
scanned with the most recent version of Symantec Endpoint Protection and is free

of viruses.

                                       /s/ Lanora C. Pettit
                                       Lanora C. Pettit


                   Certificate of Compliance
    This document complies with: (1) the type-volume limitation of Federal Rule of
Appellate Procedure 27(d)(2)(C) because it contains 2,585 words, excluding the
parts of the document exempted by Rule 32(f); and (2) the typeface requirements of
Rule 32(a)(5) and the type style requirements of Rule 32(a)(6) because it has been
prepared in a proportionally spaced typeface (14-point Equity) using Microsoft
Word (the same program used to calculate the word count).

                                       /s/ Lanora C. Pettit
                                       Lanora C. Pettit




                                          12
